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                        UNITED STATES COURT OF APPEALS                    FILED
                                FOR THE NINTH CIRCUIT                      DEC 19 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
  AIDEN STOCKMAN; et al.,                          No. 18-56539

                  Plaintiffs-Appellees,            D.C. No. 5:17-cv-01799-JGB-KK
                                                   Central District of California,
  STATE OF CALIFORNIA,                             Riverside

        Intervenor-Plaintiff-                      ORDER
        Appellee,

   v.

  DONALD J. TRUMP, in his official
  capacity as President of the United States; et
  al.,

                  Defendants-Appellants.

  Before:      LEAVY and HURWITZ, Circuit Judges.

        Proceedings in this case shall be held in abeyance pending issuance of this

  court’s mandate in Case No. 18-35347, Karnoski, et al. v. Trump, et al., or further

  order of the court.
